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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                      Plaintiffs,
     v.                                     Civil Action No. DKC 22-2597

FEDERAL HIGHWAY ADMINISTRATION,
et al.,


                      Defendants.

NORTHERN VIRGINIA CITIZENS’
ASSOCIATION,

                      Plaintiff,            Civil Action No. DKC 22-3336
v.

FEDERAL HIGHWAY ADMINISTRATION,
et al.,

                      Defendants.

                       JOINT APPENDIX VOLUME 4
